       Case 2020CV006511                Document 2                Filed 11-03-2020     Page 1 of 15
                                                                                                 FILED
                                                                                                 11-03-2020
                                                                                                 John Barrett
                                                                                                 Clerk of Circuit Court
67$7(2):,6&216,1                                 &,5&8,7&2857              0,/:$8.((&2817<
                                                                                                 2020CV006511
                                                                                                Honorable Pedro Colon-18
  6$1'5$./2&                                                                                  Branch 18
                                                                             6800216
  6.LUNZRRG$YH                                                      
  &XGDK\:,                                                           &DVH1R
                                                                                                           EXHIBIT
                                                         3ODLQWLII
         
                                                                              &ODVVLILFDWLRQ&RGH
                                                                              
                                                                                                              1
                                                                             
                                            Y                              
                                                                             
    1$7,21$/(17(535,6(6<67(06,1&                                       -XU\7ULDO'HPDQGHG
    6RORQ5RDG                                                         
    6RORQ2+                                                          $PRXQWFODLPHGLVJUHDWHUWKDQWKH
                                                                             DPRXQWXQGHU:LV6WDW
    'HIHQGDQW            G 



7+(67$7(2):,6&216,17RHDFKSHUVRQQDPHGDERYHDVD'HIHQGDQW

             <RXDUHKHUHE\QRWLILHGWKDWWKH3ODLQWLIIVQDPHGDERYHKDYHILOHGDODZVXLWRURWKHUOHJDO

DFWLRQDJDLQVW\RX7KH&RPSODLQWZKLFKLVDWWDFKHGVWDWHVWKHQDWXUHDQGEDVLVRIWKHOHJDO

DFWLRQ

            :LWKLQIRUW\ILYH  GD\VRIUHFHLYLQJWKLV6XPPRQV\RXPXVWUHVSRQGZLWKDZULWWHQ

$QVZHUDVWKDWWHUPLVGHILQHGLQ&KDSWHURIWKH:LVFRQVLQ6WDWXWHVWRWKH&RPSODLQW7KH

&RXUWPD\UHMHFWRUGLVUHJDUGDQ$QVZHUWKDWGRHVQRWIROORZWKHUHTXLUHPHQWVRIWKH6WDWXWHV

7KH$QVZHUPXVWEHVHQWRUGHOLYHUHGWRWKH&RXUWZKRVHDGGUHVVLV&OHUNRI&RXUWV1RUWK

WK6WUHHW0LOZDXNHH:LVFRQVLQDQGWR3ODLQWLIIV¶DWWRUQH\ZKRVHDGGUHVVLV$GHPL

//3(DVW/D\WRQ$YHQXH&XGDK\:LVFRQVLQ<RXPD\KDYHDQDWWRUQH\KHOSRU

UHSUHVHQW\RX

            ,I\RXGRQRWSURYLGHDQDQVZHUZLWKLQIRUW\ILYH  GD\VWKH&RXUWPD\JUDQW

-XGJPHQWDJDLQVW\RXIRUWKHDZDUGRIPRQH\RURWKHUOHJDODFWLRQUHTXHVWHGLQWKH&RPSODLQW

                                                                   


               Case 2:21-cv-00157-PP Filed 02/09/21 Page 1 of 20 Document 1-1
    Case 2020CV006511       Document 2         Filed 11-03-2020       Page 2 of 15




DQG\RXPD\ORVH\RXUULJKWWRREMHFWWRDQ\WKLQJWKDWLVRUPD\EHLQFRUUHFWLQWKH&RPSODLQW$

-XGJPHQWPD\EHHQIRUFHGDVSURYLGHGE\ODZ$-XGJPHQWDZDUGLQJPRQH\PD\EHFRPHDOLHQ

DJDLQVWDQ\UHDOHVWDWH\RXRZQQRZRULQWKHIXWXUHDQGPD\DOVREHHQIRUFHGE\JDUQLVKPHQWRU

VHL]XUHRISURSHUW\

'DWHG1RYHPEHU                      $'(0,//3
                                                
                                                 %\Electronically signed by John D. Blythin
                                                 -RKQ'%O\WKLQ 6WDWH%DU1R 
                                                         Attorney for Plaintiff

                                                 
0DLOLQJDGGUHVV
                                                 
(DVW/D\WRQ$YHQXH
&XGDK\:LVFRQVLQ
3KRQH1R






                                               


         Case 2:21-cv-00157-PP Filed 02/09/21 Page 2 of 20 Document 1-1
      Case 2020CV006511        Document 2                 Filed 11-03-2020          Page 3 of 15
                                                                               FILED
                                                                               11-03-2020
                                                                               John Barrett
                                                                               Clerk of Circuit Court
67$7(2):,6&216,1      &,5&8,7&28570,/:$8.((&2817<
                                                                               2020CV006511
                         &,9,/',9,6,21                         Honorable Pedro Colon-18
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBranch 18
    
    6$1'5$./2&                                                    
    6.LUNZRRG$YH                                          
    &XGDK\:,                                                    &203/$,17
                                                                    
                                                                      
                                       3ODLQWLII                    &DVH1RBBBBBBBBBBBBBBB
                                                                      &ODVVLILFDWLRQ&RGH
                                                                      
                     Y                                              
                                                                      
    1$7,21$/(17(535,6(6<67(06,1&                                -XU\7ULDO'HPDQGHG
    6RORQ5RDG                                                  
    6RORQ2+                                                          
                                                                   
                           'HIHQGDQW                              
                                                                                           BBBBBB

         &20(612:3ODLQWLII6DQGUD.ORFE\3ODLQWLII¶V$WWRUQH\V$GHPL//3DQGIRUD

FDXVHRIDFWLRQVWDWHVDVIROORZV

                                               ,1752'8&7,21

              7KLVFODVVDFWLRQVHHNVUHGUHVV IRUFROOHFWLRQ SUDFWLFHV WKDWYLRODWHWKH)DLU 'HEW

&ROOHFWLRQ3UDFWLFHV$FW86&et seq WKH³)'&3$´ DQGWKH:LVFRQVLQ&RQVXPHU

$FW&KV:LV6WDWV WKH³:&$´ 

                                      -85,6',&7,21$1'9(18(

              7KH FRXUW KDV MXULVGLFWLRQ WR JUDQW WKH UHOLHI VRXJKW E\ WKH 3ODLQWLII SXUVXDQW WR

:LV6WDW  'HIHQGDQW¶VFROOHFWLRQDFWLYLWLHVZHUHGLUHFWHGDW:LVFRQVLQUHVLGHQWVLQ

:LVFRQVLQ 9HQXH LQ 0LOZDXNHH &RXQW\ LV SURSHU EHFDXVH WKH FODLP DURVH LQ 0LOZDXNHH

&RXQW\ DQG 'HIHQGDQW DWWHPSWHG WR FROOHFW D GHEW LQ FRQQHFWLRQ ZLWK D FRQVXPHU WUDQVDFWLRQ

WKDWRFFXUUHGLQ0LOZDXNHH&RXQW\:LV6WDW  D  ³7KHYHQXHIRUDFODLP

DULVLQJRXWRIDFRQVXPHUWUDQVDFWLRQRUDFRQVXPHUFUHGLWWUDQVDFWLRQLVWKHFRXQW\«:KHUH

WKHFXVWRPHUUHVLGHV«´ 



             Case 2:21-cv-00157-PP Filed 02/09/21 Page 3 of 20 Document 1-1
    Case 2020CV006511            Document 2        Filed 11-03-2020         Page 4 of 15



                                                 3$57,(6

              3ODLQWLII6DQGUD.ORFLVDQLQGLYLGXDOZKRUHVLGHVLQ0LOZDXNHH&RXQW\

              3ODLQWLIILVD³FRQVXPHU´DVGHILQHGLQWKH)'&3$86&D  LQWKDW

'HIHQGDQW VRXJKW WR FROOHFW IURP 3ODLQWLII D GHEW LQFXUUHG IRU SHUVRQDO IDPLO\ RU KRXVHKROG

SXUSRVHV

              3ODLQWLIILVDOVRD³FXVWRPHU´DVGHILQHGLQWKH:&$:LV6WDW  LQ

WKDWVKHHQJDJHGLQDFRQVXPHUWUDQVDFWLRQ

              'HIHQGDQW 1DWLRQDO (QWHUSULVH 6\VWHPV ,QF ³1(6´  LV D IRUHLJQ EXVLQHVV

FRUSRUDWLRQZLWKLWVSULQFLSDORIILFHVORFDWHGDW6RORQ5RDG6RORQ2KLR

              1(6 LV HQJDJHG LQ WKH EXVLQHVV RI D FROOHFWLRQ DJHQF\ XVLQJ WKH PDLOV DQG

WHOHSKRQHWRFROOHFWFRQVXPHUGHEWVRULJLQDOO\RZHGWRRWKHUV

              1(6LVHQJDJHGLQWKHEXVLQHVVRIFROOHFWLQJGHEWVRZHGWRRWKHUVDQGLQFXUUHGIRU

SHUVRQDOIDPLO\RUKRXVHKROGSXUSRVHV

              1(6LVOLFHQVHGDVD³FROOHFWLRQDJHQF\´SXUVXDQWWR:LV6WDWDQG:LV

$GPLQ        &RGH      &K       '),%NJ          KWWSVZZZZGILRUJILOIVOLFHQVHHBOLVWV

'HIDXOWDVS"%URZVH &$ YLVLWHG1RY 

             1(6 LV D GHEW FROOHFWRU DV GHILQHG LQ  86&  D DQG :LV 6WDW

  

                                                 )$&76

             2QRUDERXW-DQXDU\'HIHQGDQWPDLOHG3ODLQWLII.ORFDGHEWFROOHFWLRQ

OHWWHU UHJDUGLQJ DQ DOOHJHG GHEW RZHG WR ³6\QFKURQ\ %DQN´ ³6\QFKURQ\´  $ FRS\ RI WKLV

DFFRXQWVWDWHPHQWLVDWWDFKHGWRWKLVFRPSODLQWDV([KLELW$




                                        
                                          
          Case 2:21-cv-00157-PP Filed 02/09/21 Page 4 of 20 Document 1-1
    Case 2020CV006511        Document 2          Filed 11-03-2020           Page 5 of 15



           8SRQLQIRUPDWLRQDQGEHOLHI([KLELW$LVDIRUPOHWWHUJHQHUDWHGE\FRPSXWHU

DQGZLWKWKHLQIRUPDWLRQVSHFLILFWR.ORFLQVHUWHGE\FRPSXWHU

           8SRQLQIRUPDWLRQDQGEHOLHI([KLELW$LVDIRUPGHEWFROOHFWLRQOHWWHUJHQHUDWHG

E\FRPSXWHUDQGXVHGE\'HIHQGDQWWRDWWHPSWWRFROOHFWDOOHJHGGHEWV

           'HIHQGDQW PDLOHG ([KLELW $ WR .ORF LQ D ³ZLQGRZ HQYHORSH´ ± DQ HQYHORSH

FRQWDLQLQJDWUDQVSDUHQW³JODVVLQH´ZLQGRZGLVSOD\LQJ.ORF¶VQDPHDQGDGGUHVV$FRS\RIWKH

OHWWHU ([KLELW$ LQVLGHWKHHQYHORSHLVDWWDFKHGDV([KLELW%

           $OVRSULQWHGRQ([KLELW$LPPHGLDWHO\DERYH'HIHQGDQW¶VUHWXUQDGGUHVVDQGLQ

DOOFDSVIRQWDUHWKHZRUGV³ 3(5621$/ &21),'(17,$/ ´

           7KH ³ 3(5621$/          &21),'(17,$/ ´ ODQJXDJH ZDV YLVLEOH WKURXJK WKH

JODVVLQHZLQGRZ,WDSSHDUVDVIROORZV




                                                                        

           .ORFRSHQHGWKHHQYHORSHFRQWDLQLQJ([KLELW$DQGUHWDLQHGWKHHQYHORSHZKLFK

FRQWDLQHG WKH JODVVLQH ZLQGRZ WKURXJK ZKLFK WKH ³ 3(5621$/                &21),'(17,$/ ´

ODQJXDJHZDVYLVLEOH([KLELW%

           86&I  H[SUHVVO\SURKLELWV

            8VLQJDQ\ODQJXDJHRUV\PERORWKHUWKDQWKHGHEWFROOHFWRU¶VDGGUHVVRQ
               DQ\HQYHORSHZKHQFRPPXQLFDWLQJZLWKDFRQVXPHUE\XVHRIWKHPDLOVRU
               E\WHOHJUDPH[FHSWWKDWDGHEWFROOHFWRUPD\XVHKLVEXVLQHVVQDPHLIVXFK
               QDPHGRHVQRWLQGLFDWHWKDWKHLVLQWKHGHEWFROOHFWLRQEXVLQHVV
       
           /LNH  86&  I   :LV 6WDW    H  SURKLELWV GHEW FROOHFWRUV

IURP GLVFORVLQJ ³LQIRUPDWLRQ DIIHFWLQJ WKH FXVWRPHU¶V UHSXWDWLRQ ZKHWKHU RU QRW IRU FUHGLW




                                       
                                         
         Case 2:21-cv-00157-PP Filed 02/09/21 Page 5 of 20 Document 1-1
    Case 2020CV006511            Document 2           Filed 11-03-2020           Page 6 of 15



ZRUWKLQHVVZLWKNQRZOHGJHRUUHDVRQWRNQRZWKDWWKHRWKHUSHUVRQGRHVQRWKDYHDOHJLWLPDWH

EXVLQHVVQHHGIRUWKHLQIRUPDWLRQ´

              7KH6HYHQWK&LUFXLWUHFHQWO\KHOGWKDWWKHSODLQODQJXDJHRI86&I  

SURKLELWV GHEW FROOHFWRUV IURP SULQWLQJ any H[WUDQHRXV WH[W LQ D ZD\ WKDW LW LV YLVLEOH RQ DQ

HQYHORSHFRQWDLQLQJDGXQQLQJOHWWHUPreston v. Midland Credit Mgmt.)G WK&LU

 

              PrestonDGGUHVVHGDGXQQLQJOHWWHULQDQHQYHORSHFRQWDLQLQJWKHODQJXDJH³7,0(

6(16,7,9('2&80(17´Id. DW

              7KH 6HYHQWK &LUFXLW KHOG WKDW DQ\ H[WUDQHRXV ODQJXDJH YLVLEOH RQ DQ HQYHORSH

FRQWDLQLQJDGHEWFROOHFWLRQOHWWHUYLRODWHV86&I  DVDPDWWHURIODZ

          7KH ILUVW VHQWHQFH RI  I SURKLELWV GHEW FROOHFWRUV IURP XVLQJ XQIDLU RU
          XQFRQVFLRQDEOH PHDQV WR FROOHFW D GHEW 7KDW SURKLELWLRQ LV WKHQ IROORZHG E\ D
          VSHFLILF OLVW RI FRQGXFW WKDW YLRODWHV WKH VHFWLRQ $PRQJ WKRVH DFWV VSHFLILFDOO\
          OLVWHG LV WKH XVH RI ³DQ\ ODQJXDJH RU V\PERO RWKHU WKDQ WKH GHEW FROOHFWRU¶V
          DGGUHVVRQDQ\HQYHORSHZKHQFRPPXQLFDWLQJZLWKDFRQVXPHUH[FHSWWKDWD
          GHEW FROOHFWRU PD\ XVH KLV EXVLQHVV QDPH´ XQGHU SUHVFULEHG FLUFXPVWDQFHV 
          86&  I   2Q LWV IDFH WKH SURKLELWLRQ LV FOHDU XVH RI DQ\ ODQJXDJH RU
          V\PERO RQ DQ HQYHORSH H[FHSW IRU WKH GHEW FROOHFWRU¶V QDPH LI LW GRHV QRW
          LQGLFDWH WKDW WKH FROOHFWRU LV LQ WKH EXVLQHVV RI GHEW FROOHFWLRQ  DQG WKH GHEW
          FROOHFWRU¶VDGGUHVVYLRODWHVVXEVHFWLRQ  

Id.DW
        
              ,Q Preston WKH 6HYHQWK &LUFXLW H[SUHVVO\ UHMHFWHG WKH ³EHQLJQ ODQJXDJH

H[FHSWLRQ´IROORZHGLQVRPHRWKHUFLUFXLWVKROGLQJWKDW&RQJUHVVFUHDWHGDEULJKWOLQHUXOH

          %HOLHYLQJ WKH VWDWXWRU\ ODQJXDJH WR EH DPELJXRXV WKH FRXUW ORRNHG WR WKH
          OHJLVODWLYHKLVWRU\WKH)HGHUDO7UDGH&RPPLVVLRQ¶V ³)7&´ LQWHUSUHWDWLRQRIWKH
          SURYLVLRQ DQG GLVWULFW FRXUW FDVHV LQWHUSUHWLQJ WKH SURYLVLRQ see Goswami 
          )G DW  FROOHFWLQJ FDVHV  WR FRQFOXGH WKDW D EHQLJQODQJXDJH H[FHSWLRQ
          VKRXOGDSSO\
                                                    «
          :H UHVSHFWIXOO\GLVDJUHHZLWK WKHDSSURDFKWDNHQE\ RXUVLVWHUFLUFXLWV«7KH
          VWDWXWRU\ ODQJXDJH >RI  I  @ GRHV LQ IDFW SURKLELW GHEW FROOHFWRUV IURP
          VHQGLQJ FRPPXQLFDWLRQV WR FRQVXPHUV LQ HQYHORSHV EHDULQJ V\PEROV WKDW DUH

                                          
                                            
            Case 2:21-cv-00157-PP Filed 02/09/21 Page 6 of 20 Document 1-1
    Case 2020CV006511         Document 2           Filed 11-03-2020          Page 7 of 15



        LQGLFDWLYHRIGHEWFROOHFWLRQ7KHODQJXDJHRIWKHVWDWXWHVLPSO\GUDZVDFOHDUOLQH
        WR HQVXUH WKDW FRQVXPHUV¶ ULJKWV DUH QRW ORVWLQWKH LQWHUSUHWDWLRQ RIPRUH VXEWOH
        ODQJXDJH$VRQHFRXUWKDVH[SODLQHG
        
                >W@KLVDSSURDFKSURYLGHVFHUWDLQW\WRGHEWFROOHFWRUVDQGDYRLGVWKH
                SUREOHPRIKDYLQJWRGHFLGHRQDFDVHE\FDVHEDVLVZKDWODQJXDJH
                RU V\PEROV LQWUXGH LQWR WKH SULYDF\ RI WKH GHEWRU RU RWKHUZLVH
                FRQVWLWXWH³DQXQIDLURUXQFRQVFLRQDEOHPHDQVWRFROOHFWRUDWWHPSW
                WRFROOHFWDGHEW´>86&@I&RQJUHVVZURWHLQWRWKH
                ODZDEULJKWOLQHUXOHZLWKUHVSHFWWRPDUNLQJVRQHQYHORSHVVHQWWR
                GHEWRUV DQG DXWKRUL]HG WKH DZDUG RI GDPDJHV WR GHEWRUV LI GHEW
                FROOHFWRUVYLRODWHWKHSODLQODQJXDJHRII  
        
        Palmer v. Credit Collection Servs., Inc.  ) 6XSSG   (' 3D
           ,Q SURYLGLQJ FHUWDLQW\ WKLV SURYLVLRQ IXUWKHUV WKH )'&3$¶V RYHUDOO
        SXUSRVHRI³HOLPLQDW>LQJ@DEXVLYHGHEWFROOHFWLRQSUDFWLFHVE\GHEWFROOHFWRUV´DQG
        ³LQVXU>LQJ@ WKDW WKRVH GHEW FROOHFWRUV ZKR UHIUDLQ IURP XVLQJ DEXVLYH GHEW
        FROOHFWLRQSUDFWLFHVDUHQRWFRPSHWLWLYHO\GLVDGYDQWDJHG´
        
        ,QVXPWKHPHDQLQJRII  LVFOHDU:KHQDGHEWFROOHFWRUFRPPXQLFDWHV
        ZLWKFRQVXPHUVWKURXJKWKHPDLOVLWPD\QRWXVHDQ\ODQJXDJHRUV\PERORQWKH
        HQYHORSH H[FHSW IRU LWV EXVLQHVV QDPH RU DGGUHVV DV ORQJ DV WKH QDPH GRHV QRW
        LQGLFDWHWKDWKHLVLQWKHGHEWFROOHFWLRQEXVLQHVV7XUQLQJWRWKHIDFWVKHUHWKHUH
        LV QRTXHVWLRQWKDWWKHODQJXDJH³7,0(6(16,7,9( '2&80(17´ DSSHDUVRQ
        WKHHQYHORSHHQFORVLQJDFRPPXQLFDWLRQWRDFRQVXPHU,WLVHTXDOO\DSSDUHQWWKDW
        WKH ODQJXDJH DW LVVXH GRHV QRW IDOO ZLWKLQ WKH LWHPL]HG H[FHSWLRQ VHW IRUWK LQ
        VXEVHFWLRQ   ,W LV QRW 0LGODQG¶V QDPH QRU LWV DGGUHVV 7KH LQFOXVLRQ RI WKLV
        SKUDVHWKXVYLRODWHVI  DQGWKHGLVWULFWFRXUWHUUHGLQGLVPLVVLQJWKHFODLP
        VHWIRUWKLQ&RXQW,RI0U3UHVWRQ¶VFRPSODLQW

Id. DW cf.Goswami v. American Collections Enterprise, Inc.)G WK

&LU Strand v. Diversified Collection Service, Inc.)G WK&LU 

            $V LQ Preston WKH ³3(5621$/                  &21),'(17,$/´ ODQJXDJH RQ

([KLELW$YLRODWHVWKHSODLQODQJXDJHRI86&I  Preston)GDW

            7KHUHLVQRDUWLILFLDOGLVWLQFWLRQEHWZHHQODQJXDJHSULQWHGGLUHFWO\RQDQHQYHORSH

LWVHOIDQGODQJXDJHSULQWHGRQWKHGXQQLQJOHWWHUWKDWLVYLVLEOHWKURXJKWKHHQYHORSH¶VJODVVLQH

ZLQGRZ  7KH SXUSRVH RI  86&  I   LV WR SURKLELW WKH GLVFORVXUH RI LQIRUPDWLRQ WR

WKLUGSDUWLHV,QGHHGWKH³7,0(6(16,7,9('2&80(17´ODQJXDJHDWLVVXHLQPrestonZDV



                                        
                                          
          Case 2:21-cv-00157-PP Filed 02/09/21 Page 7 of 20 Document 1-1
      Case 2020CV006511          Document 2          Filed 11-03-2020         Page 8 of 15



DFWXDOO\SULQWHGRQDQLQWHUQDOHQYHORSHWKDWZDVLWVHOIYLVLEOHWKURXJKWKHJODVVLQHZLQGRZRIWKH

HQYHORSH WKDW DFWXDOO\ FRQWDLQHG WKH SRVWDJH  Preston  )G DW  see also, Douglass v.

Convergent Outsourcing  )G   G &LU   GLVFORVXUH WKURXJK ZLQGRZ

HQYHORSH ³LPSOLFDWHV D FRUH FRQFHUQ DQLPDWLQJ WKH )'3&$²WKH LQYDVLRQ RI SULYDF\´  

86&F E  SURKLELWLQJGHEWFRPPXQLFDWLRQZLWKWKLUGSDUWLHVRWKHUWKDQWKRVHVSHFLILHG

LQWKHVWDWXWH 

                )XUWKHU LW LV QRW GLIILFXOW IRU D GHEW FROOHFWRU WR FRPSO\ ZLWK  86&

I  ±WKHFUHGLWRUVLPSO\PXVWQRWSULQWH[WUDQHRXVLQIRUPDWLRQRQWKHHQYHORSHVRUDOORZ

LWWRVKRZWKURXJKWKHJODVVLQHZLQGRZVRIHQYHORSHV

                                                 The FDCPA

                7KH )'&3$ FUHDWHV VXEVWDQWLYH ULJKWV IRU FRQVXPHUV YLRODWLRQV FDXVH LQMXU\ WR

FRQVXPHUVDQGVXFKLQMXULHVDUHFRQFUHWHDQGSDUWLFXODUL]HGDerosia v. Credit Corp Solutions

 86 'LVW /(;,6  DW  (' :LV 0DU    ³µD SODLQWLII ZKR UHFHLYHV

PLVLQIRUPDWLRQIRUPDGHEWFROOHFWRUKDVVXIIHUHGWKHW\SHRILQMXU\WKH)'&3$ZDVLQWHQGHGWR

SURWHFW DJDLQVW¶DQG µVDWLVILHVWKH FRQFUHWH LQMXU\ LQ IDFW UHTXLUHPHQW RI$UWLFOH ,,,¶´  TXRWLQJ

Pogorzelski v. Patenaude & Felix APC86'LVW/(;,6:/DW 

    (':LV-XQH Spuhler v. State Collection Servs.1R&986'LVW

/(;,6 (':LV2FW  ³$VLQ3RJRU]HOVNLWKH6SXKOHUV¶DOOHJDWLRQVWKDWWKH

GHEW FROOHFWLRQ OHWWHUV VHQW E\ 6WDWH &ROOHFWLRQ FRQWDLQHG IDOVH UHSUHVHQWDWLRQV RI WKH FKDUDFWHU

DPRXQWRUOHJDOVWDWXVRIDGHEWLQYLRODWLRQRIWKHLUULJKWVXQGHUWKH)'&3$VXIILFLHQWO\SOHDGV

DFRQFUHWHLQMXU\LQIDFWIRUSXUSRVHVRIVWDQGLQJ´ Bock v. Pressler & Pressler, LLP1R

86'LVW/(;,6  '1-0D\  ³WKURXJK>V@HFWLRQHRIWKH

)'&3$ &RQJUHVV HVWDEOLVKHG µDQ HQIRUFHDEOH ULJKW WR WUXWKIXO LQIRUPDWLRQ FRQFHUQLQJ¶ GHEW



                                          
                                            
            Case 2:21-cv-00157-PP Filed 02/09/21 Page 8 of 20 Document 1-1
    Case 2020CV006511          Document 2            Filed 11-03-2020           Page 9 of 15



FROOHFWLRQSUDFWLFHVDGHFLVLRQWKDWµZDVXQGRXEWHGO\LQIOXHQFHGE\FRQJUHVVLRQDODZDUHQHVVWKDW

WKH LQWHQWLRQDO SURYLVLRQ RI PLVLQIRUPDWLRQ¶ UHODWHG WR VXFK SUDFWLFHV µFRQWULEXWH>V@ WR WKH

QXPEHU RI SHUVRQDO EDQNUXSWFLHV WR PDULWDO LQVWDELOLW\ WR WKH ORVV RI MREV DQG WR LQYDVLRQV RI

LQGLYLGXDOSULYDF\´ Quinn v. Specialized Loan Servicing, LLC1R&86'LVW

/(;,6  1',OO$XJ  UHMHFWLQJFKDOOHQJHWR3ODLQWLII¶VVWDQGLQJEDVHG

XSRQ DOOHJHG )'&3$ VWDWXWRU\ YLRODWLRQ  Lane v. Bayview Loan Servicing, LLC 1R  &

86'LVW/(;,6  1',OO-XO\  ³:KHQDIHGHUDOVWDWXWHLV

YLRODWHG DQG HVSHFLDOO\ ZKHQ &RQJUHVV KDV FUHDWHG D FDXVH RI DFWLRQ IRU LWV YLRODWLRQ E\

GHILQLWLRQ&RQJUHVVKDVFUHDWHGDOHJDOO\SURWHFWHGLQWHUHVWWKDWLWGHHPVLPSRUWDQWHQRXJKIRUD

ODZVXLW´ see alsoMogg v. Jacobs1R&9-3*'*:86'LVW/(;,6

 :/  DW  6' ,OO 0DU    ³&RQJUHVV GRHV KDYH WKH SRZHU WR HQDFW

VWDWXWHV FUHDWLQJ OHJDO ULJKWV WKH LQYDVLRQ RI ZKLFK FUHDWHV VWDQGLQJ HYHQ WKRXJK QR LQMXU\

ZRXOGH[LVWZLWKRXWWKHVWDWXWH´ TXRWLQJSterk v. Redbox Automated Retail, LLC)G

 WK &LU   )RU WKLV UHDVRQ DQG WR HQFRXUDJH FRQVXPHUV WR EULQJ )'&3$ DFWLRQV

&RQJUHVVDXWKRUL]HGDQDZDUGRIVWDWXWRU\GDPDJHVIRUYLRODWLRQV86&N D 

             0RUHRYHU &RQJUHVV KDV H[SOLFLWO\ GHVFULEHG WKH )'&3$ DV UHJXODWLQJ ³DEXVLYH

SUDFWLFHV´LQGHEWFROOHFWLRQ86& D ± H $Q\SHUVRQZKRUHFHLYHVDGHEW

FROOHFWLRQ OHWWHU FRQWDLQLQJ D YLRODWLRQ RI WKH )'&3$ LV D YLFWLP RI DEXVLYH SUDFWLFHV See 

86&   H  ³,W LV WKH SXUSRVH RI WKLV VXEFKDSWHU WR HOLPLQDWH DEXVLYH GHEW FROOHFWLRQ

SUDFWLFHVE\GHEWFROOHFWRUVWRLQVXUHWKDWWKRVHGHEWFROOHFWRUVZKRUHIUDLQIURPXVLQJDEXVLYH

GHEW FROOHFWLRQ SUDFWLFHV DUH QRW FRPSHWLWLYHO\ GLVDGYDQWDJHG DQG WR SURPRWH FRQVLVWHQW 6WDWH

DFWLRQWRSURWHFWFRQVXPHUVDJDLQVWGHEWFROOHFWLRQDEXVHV´ 




                                        
                                          
          Case 2:21-cv-00157-PP Filed 02/09/21 Page 9 of 20 Document 1-1
    Case 2020CV006511          Document 2            Filed 11-03-2020          Page 10 of 15



             $OORZLQJ GHEW FROOHFWRUV WR SULQW H[WUDQHRXV LQIRUPDWLRQ ULVNV LQMXU\ WR WKH

SULYDF\LQWHUHVWVH[SUHVVO\SURWHFWHGE\&RQJUHVVLQWKH)'&3$HYHQZKHUHWKHODQJXDJHPLJKW

EH FRQVLGHUHG ³EHQLJQ´  $V WKH 6HYHQWK &LUFXLW H[SODLQHG LQ Preston WKH SURKLELWLRQ RQ any

H[WUDQHRXV WH[W ³VLPSO\ GUDZV D FOHDU OLQH WR HQVXUH WKDW FRQVXPHUV¶ ULJKWV DUH QRW ORVW LQ WKH

LQWHUSUHWDWLRQRIPRUHVXEWOHODQJXDJH´Preston)GDW

              86&  I JHQHUDOO\ SURKLELWV WKH ³XVH >RI@ XQIDLU RU XQFRQVFLRQDEOH

PHDQVWRFROOHFWRUDWWHPSWWRFROOHFWDQ\GHEW´

             86&I  VSHFLILFDOO\SURKLELWV

                 8VLQJDQ\ODQJXDJHRUV\PERORWKHUWKDQWKHGHEWFROOHFWRU¶VDGGUHVVRQ
                 DQ\HQYHORSHZKHQFRPPXQLFDWLQJZLWKDFRQVXPHUE\XVHRIWKHPDLOVRU
                 E\WHOHJUDPH[FHSWWKDWDGHEWFROOHFWRUPD\XVHKLVEXVLQHVVQDPHLIVXFK
                 QDPHGRHVQRWLQGLFDWHWKDWKHLVLQWKHGHEWFROOHFWLRQEXVLQHVV
        
                                                 The WCA

             7KH:LVFRQVLQ&RQVXPHU$FW ³:&$´ ZDVHQDFWHGWRSURWHFWFRQVXPHUVDJDLQVW

XQIDLU GHFHSWLYH DQG XQFRQVFLRQDEOH EXVLQHVV SUDFWLFHV DQG WR HQFRXUDJH GHYHORSPHQW RI IDLU

DQGHFRQRPLFDOO\VRXQGSUDFWLFHVLQFRQVXPHUWUDQVDFWLRQV:LV6WDW  

             7KH :LVFRQVLQ 6XSUHPH &RXUW KDV IDYRUDEO\ FLWHG DXWKRULW\ ILQGLQJ WKDW WKH

:&$³JRHVIXUWKHUWRSURWHFWFRQVXPHULQWHUHVWVWKDQDQ\RWKHUVXFKOHJLVODWLRQLQWKHFRXQWU\´

DQGLV³SUREDEO\WKHPRVWVZHHSLQJFRQVXPHUFUHGLWOHJLVODWLRQ\HWHQDFWHGLQDQ\VWDWH´Kett Y

Community Credit Plan, Inc.,  :LV G   Q  1:G    FLWDWLRQV

RPLWWHG 

             7R IXUWKHU WKHVH JRDOV WKH $FW¶V SURWHFWLRQV PXVW EH ³OLEHUDOO\ FRQVWUXHG DQG

DSSOLHG´:LV6WDW  see also 

             ³7KHEDVLFSXUSRVHRIWKHUHPHGLHVVHWIRUWKLQ&KDSWHU6WDWVLVWRLQGXFH

FRPSOLDQFH ZLWK WKH :&$ DQG WKHUHE\ SURPRWH LWV XQGHUO\LQJ REMHFWLYHV´  First Wisconsin

                                           
                                             
            Case 2:21-cv-00157-PP Filed 02/09/21 Page 10 of 20 Document 1-1
    Case 2020CV006511         Document 2           Filed 11-03-2020          Page 11 of 15



Nat’l Bank v. Nicolaou:LVG1:G  7KXVSULYDWHDFWLRQV

XQGHUWKH:&$DUHGHVLJQHGWRERWKEHQHILWFRQVXPHUVZKRVHULJKWVKDYHEHHQYLRODWHGDQGDOVR

FRPSHWLWRUVRIWKHYLRODWRUVZKRVHFRPSHWLWLYHDGYDQWDJHVKRXOGQRWEHGLPLQLVKHGEHFDXVHRI

WKHLUFRPSOLDQFHZLWKWKHODZ

            7RFDUU\RXWWKLVLQWHQWWKH:&$SURYLGHV:LVFRQVLQFRQVXPHUVZLWKDQDUUD\RI

SURWHFWLRQV DQG OHJDO UHPHGLHV  7KH $FW FRQWDLQV VLJQLILFDQW DQG VZHHSLQJ UHVWULFWLRQV RQ WKH

DFWLYLWLHVRIWKRVHDWWHPSWLQJWRFROOHFWGHEWVSee:LV6WDWV

            7KH $FW OLPLWV WKH DPRXQWV DQG W\SHV RI DGGLWLRQDO IHHV WKDW PD\ EH FKDUJHG WR

FRQVXPHUV LQ FRQMXQFWLRQ ZLWK WUDQVDFWLRQV  :LV 6WDWV      7KH $FW DOVR SURYLGHV

LQMXUHG FRQVXPHUV ZLWK FDXVHV RI DFWLRQ IRU FODVVZLGH VWDWXWRU\ DQG DFWXDO GDPDJHV DQG

LQMXQFWLYH UHPHGLHV DJDLQVW GHIHQGDQWV RQ EHKDOI RI DOO FXVWRPHUV ZKR VXIIHU VLPLODU LQMXULHV

See:LV6WDWV    H )LQDOO\³DFXVWRPHUPD\QRWZDLYHRUDJUHHWR

IRUHJRULJKWVRUEHQHILWVXQGHU>WKH$FW@´:LV6WDW  

            &RQVXPHUV¶ :&$ FODLPV XQGHU :LV 6WDW     DUH DQDO\]HG XVLQJ WKH

VDPH PHWKRGV DV FODLPV XQGHU WKH )'&3$  ,QGHHG WKH :&$ LWVHOI UHTXLUHV WKDW WKH FRXUW

DQDO\]H WKH :&$ ³LQ DFFRUGDQFH ZLWK WKH SROLFLHV XQGHUO\LQJ D IHGHUDO FRQVXPHU FUHGLW

SURWHFWLRQDFW´LQFOXGLQJWKH)'&3$:LV6WDW  

            )XUWKHUWKH:LVFRQVLQ6XSUHPH&RXUWKDVKHOGWKDW:&$FODLPVUHODWLQJWRGHEW

FROOHFWLRQDUHWREHDQDO\]HGXQGHUWKH³XQVRSKLVWLFDWHGFRQVXPHU´VWDQGDUGBrunton v. Nuvell

Credit Corp.1:G :LV ,QBruntonWKH:LVFRQVLQ6XSUHPH&RXUW

H[SOLFLWO\DGRSWHGDQGIROORZHGWKH³XQVRSKLVWLFDWHGFRQVXPHU´VWDQGDUGFLWLQJDQGGLVFXVVLQJ

Gammon v. GC Servs. Ltd. P’ship)G WK&LU Id.




                                        
                                          
         Case 2:21-cv-00157-PP Filed 02/09/21 Page 11 of 20 Document 1-1
    Case 2020CV006511         Document 2           Filed 11-03-2020          Page 12 of 15



            :LV 6WDW   FUHDWHV D FDXVH RI DFWLRQ IRU ³DOO YLRODWLRQV IRU ZKLFK QR

RWKHUUHPHG\LVVSHFLILFDOO\SURYLGHG´E\WKH:&$

            :LV 6WDW    H  SURKLELWV WKH GLVFORVXUH RI ³LQIRUPDWLRQ DIIHFWLQJ WKH

FXVWRPHU¶VUHSXWDWLRQZKHWKHURUQRWIRUFUHGLWZRUWKLQHVVZLWKNQRZOHGJHRUUHDVRQWRNQRZ

WKDWWKHRWKHUSHUVRQGRHVQRWKDYHDOHJLWLPDWHEXVLQHVVQHHGIRUWKHLQIRUPDWLRQ´

            :LV 6WDW    J  VWDWHV WKDW D GHEW FROOHFWRU PD\ QRW ³&RPPXQLFDWH

ZLWKWKHFXVWRPHU«LQVXFKDPDQQHUDVFDQUHDVRQDEO\EHH[SHFWHGWRWKUHDWHQRUKDUDVVWKH

FXVWRPHU´

            :LV6WDW  K VWDWHVWKDWDGHEWFROOHFWRUPD\QRW³(QJDJHLQRWKHU

FRQGXFWZKLFKFDQUHDVRQDEO\EHH[SHFWHGWRWKUHDWHQRUKDUDVVWKHFXVWRPHU«´

            :LV6WDW  M VWDWHVWKDWDGHEWFROOHFWRUPD\QRW³&ODLPRUDWWHPSW

RUWKUHDWHQWRHQIRUFHDULJKWZLWKNQRZOHGJHRUUHDVRQWRNQRZWKDWWKHULJKWGRHVQRWH[LVW´

            7KH :LVFRQVLQ 'HSDUWPHQW RI )LQDQFLDO ,QVWLWXWLRQV ZKLFK LV WDVNHG ZLWK

UHJXODWLQJOLFHQVHGFROOHFWLRQDJHQFLHVKDVIRXQGWKDW³FRQGXFWZKLFKYLRODWHVWKH)HGHUDO)DLU

'HEW &ROOHFWLRQ 3UDFWLFHV $FW´ FDQ UHDVRQDEO\ EH H[SHFWHG WR WKUHDWHQ RU KDUDVV WKH FXVWRPHU

See :LV$GPLQ&RGH'),%NJ   ³2SSUHVVLYHDQGGHFHSWLYHSUDFWLFHVSURKLELWHG´ 

                                         &2817,±)'&3$

            3ODLQWLII LQFRUSRUDWHV E\ UHIHUHQFH DV LI IXOO\ VHW IRUWK KHUHLQ WKH DOOHJDWLRQV

FRQWDLQHGLQWKHSUHFHGLQJSDUDJUDSKVRIWKLV&RPSODLQW

            ([KLELW$FRQWDLQVH[WUDQHRXVWH[WYLVLEOHRQWKHRXWVLGHRIWKHHQYHORSHWKURXJK

WKHZLQGRZZKLFKVWDWHV³ 3(5621$/ &21),'(17,$/ ´




                                       
                                         
         Case 2:21-cv-00157-PP Filed 02/09/21 Page 12 of 20 Document 1-1
    Case 2020CV006511          Document 2          Filed 11-03-2020           Page 13 of 15



             7KH XVH RI VXFK H[WUDQHRXV WH[W RQ DQ HQYHORSH FRQWDLQLQJ D GXQQLQJ OHWWHU RU

YLVLEOHRQWKHIURQWRIWKHHQYHORSHWKURXJKDZLQGRZYLRODWHV86&I  DVDPDWWHU

RIODZPreston)GDW

             'HIHQGDQWYLRODWHG86&IDQGI  

                                           &2817,,±:&$

             3ODLQWLII LQFRUSRUDWHV E\ UHIHUHQFH DV LI IXOO\ VHW IRUWK KHUHLQ WKH DOOHJDWLRQV

FRQWDLQHGLQWKHSUHFHGLQJSDUDJUDSKVRIWKLV&RPSODLQW

             ([KLELW$FRQWDLQVH[WUDQHRXVWH[WYLVLEOHRQWKHRXWVLGHRIWKHHQYHORSHWKURXJK

WKHZLQGRZZKLFKVWDWHV³ 3(5621$/ &21),'(17,$/ ´

             7KH XVH RI VXFK H[WUDQHRXV WH[W RQ DQ HQYHORSH FRQWDLQLQJ D GXQQLQJ OHWWHU RU

YLVLEOHRQWKHIURQWRIWKHHQYHORSHWKURXJKDZLQGRZYLRODWHV86&I  DVDPDWWHU

RIODZPreston)GDW

             1(6LVOLFHQVHGDVD³FROOHFWLRQDJHQF\´SXUVXDQWWR:LV6WDWDQG:LV

$GPLQ&RGH&K'),%NJ

             'HIHQGDQWYLRODWHG:LV6WDW  H   J   K DQG

  M 

                                       &/$66$//(*$7,216

             3ODLQWLIIEULQJVWKLVDFWLRQRQEHKDOIRIDFODVVFRQVLVWLQJRI

         D  DOO QDWXUDO SHUVRQV LQ WKH 6WDWH RI :LVFRQVLQ E  ZKR ZHUH VHQW D FROOHFWLRQ
       OHWWHUE\'HIHQGDQWWKDWLQFOXGHGWKHWH[W³ 3(5621$/ &21),'(17,$/ ´
       DERYH WKH UHFLSLHQW¶V DGGUHVV F  DWWHPSWLQJ WR FROOHFW D GHEW LQFXUUHG IRU
       SHUVRQDOIDPLO\RUKRXVHKROGSXUSRVHV G ZKHUHWKHOHWWHUZDVPDLOHGEHWZHHQ
       1RYHPEHUDQG1RYHPEHULQFOXVLYH H DQGZDVQRWUHWXUQHGE\
       WKHSRVWDOVHUYLFH
       
        7KHFODVVLVVRQXPHURXVWKDWMRLQGHULVLPSUDFWLFDEOH

             8SRQLQIRUPDWLRQDQGEHOLHIWKHUHDUHPRUHWKDQPHPEHUVRIWKHFODVV

                                      
                                        
        Case 2:21-cv-00157-PP Filed 02/09/21 Page 13 of 20 Document 1-1
    Case 2020CV006511        Document 2              Filed 11-03-2020        Page 14 of 15



           7KHUH DUH TXHVWLRQV RI ODZ DQG IDFW FRPPRQ WR WKH FODVV PHPEHUV ZKLFK

FRPPRQ TXHVWLRQV SUHGRPLQDWH RYHU DQ\ TXHVWLRQV WKDW DIIHFW RQO\ LQGLYLGXDO FODVV PHPEHUV

7KH SUHGRPLQDQW FRPPRQ TXHVWLRQ LV ZKHWKHU WKH 'HIHQGDQW FRPSOLHG ZLWK WKH )'&3$ DQG

:&$

           3ODLQWLII¶VFODLPVDUHW\SLFDORIWKHFODLPVRIWKHFODVVPHPEHUV$OODUHEDVHGRQ

WKHVDPHIDFWXDODQGOHJDOWKHRULHV

           3ODLQWLII ZLOO IDLUO\ DQG DGHTXDWHO\ UHSUHVHQW WKH LQWHUHVWV RI WKH FODVV PHPEHUV

3ODLQWLIIKDVUHWDLQHGFRXQVHOH[SHULHQFHGLQFRQVXPHUFUHGLWDQGGHEWFROOHFWLRQDEXVHFDVHV

           $FODVVDFWLRQLVVXSHULRUWRRWKHUDOWHUQDWLYHPHWKRGVRIDGMXGLFDWLQJWKLVGLVSXWH

,QGLYLGXDOFDVHVDUHQRWHFRQRPLFDOO\IHDVLEOH

                                            -85<'(0$1'

           3ODLQWLIIKHUHE\GHPDQGVDWULDOE\MXU\

                                      35$<(5)255(/,()

        :+(5()25(3ODLQWLIIUHTXHVWVWKDWWKH&RXUWHQWHUMXGJPHQWLQIDYRURI3ODLQWLIIDQG

WKH&ODVVDQGDJDLQVW'HIHQGDQWIRU

        D     LQMXQFWLYHUHOLHI

        E     DFWXDOGDPDJHV

        F     VWDWXWRU\GDPDJHV      

        G     DWWRUQH\V¶IHHVOLWLJDWLRQH[SHQVHVDQGFRVWVRIVXLWDQG

        H     VXFKRWKHURUIXUWKHUUHOLHIDVWKH&RXUWGHHPVSURSHU

'DWHG1RYHPEHU                               

                                                           $'(0,//3

                                               %\      V-RKQ'%O\WKLQ      
                                                         -RKQ'%O\WKLQ 6%1 

                                       
                                         
         Case 2:21-cv-00157-PP Filed 02/09/21 Page 14 of 20 Document 1-1
    Case 2020CV006511   Document 2       Filed 11-03-2020     Page 15 of 15



                                             0DUN$(OGULGJH 6%1 
                                             -HVVH)UXFKWHU 6%1 
                                             %HQ-6ODWN\ 6%1 
                                             (DVW/D\WRQ$YHQXH
                                             &XGDK\:,
                                               
                                                ID[ 
                                             MEO\WKLQ#DGHPLODZFRP
                                             PHOGULGJH#DGHPLODZFRP
                                             MIUXFKWHU#DGHPLODZFRP
                                             EVODWN\#DGHPLODZFRP





                                      
                                        
        Case 2:21-cv-00157-PP Filed 02/09/21 Page 15 of 20 Document 1-1
Case 2020CV006511   Document 4   Filed 11-03-2020
                                                                FILED
                                                                11-03-2020
                                                                John Barrett
                                                                Clerk of Circuit Court
                                                                2020CV006511
                                                                Honorable Pedro Colon-18
                                                                Branch 18




    Case 2:21-cv-00157-PP Filed 02/09/21 Page 16 of 20 Document 1-1
Case 2020CV006511   Document 4   Filed 11-03-2020




    Case 2:21-cv-00157-PP Filed 02/09/21 Page 17 of 20 Document 1-1
Case 2020CV006511   Document 4   Filed 11-03-2020




    Case 2:21-cv-00157-PP Filed 02/09/21 Page 18 of 20 Document 1-1
Case 2020CV006511   Document 3   Filed 11-03-2020
                                                                FILED
                                                                11-03-2020
                                                                John Barrett
                                                                Clerk of Circuit Court
                                                                2020CV006511
                                                                Honorable Pedro Colon-18
                                                                Branch 18




    Case 2:21-cv-00157-PP Filed 02/09/21 Page 19 of 20 Document 1-1
Case 2020CV006511   Document 3   Filed 11-03-2020




    Case 2:21-cv-00157-PP Filed 02/09/21 Page 20 of 20 Document 1-1
